                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE



 GLOBAL AEROSPACE, INC.,                           )
                                                   )
                Plaintiff,                         )
                                                   )
 v.                                                )   No. 3:15-CV-105-PLR-CCS
                                                   )
 PHILLIPS & JORDAN, INC.,                          )
                                                   )
                Defendant.                         )


                                 ORDER OF REFERRAL



       It is hereby ORDERED that the parties’ motion to compel appraisal and stay this

 litigation pending appraisal [R. 44] is REFERRED to the Honorable C. Clifford Shirley,

 United States Magistrate Judge, pursuant to 28 U.S.C. § 636(b) and the Rules of this

 Court, for disposition or for a report and recommendation as may be appropriate.

       Enter:




                                          ____________________________________
                                          UNITED STATES DISTRICT JUDGE




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